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                      EXHIBIT 35
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                                                                               CONFIDENTIAL




                                 UNITED STATES DISTRICT COURT

                                   NORTHERN DISTRICT OF OHIO

                                          EASTERN DIVISION




IN RE NATIONAL PRESCRIPTION                           MDL 2804
OPIATE LITIGATION                                     Case No. 17-md-2804
This document relates to:                             Hon. Dan Aaron Polster
The County of Summit, Ohio, et al. v. Purdue Pharma
L.P., et al., Case No. 18-OP-45090




                               Report of David S. Egilman MD, MPH



                                            March 25, 2019




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7.21        OPINION – WALGREENS SOLUTION TO RED FLAGGED STORES
       WAS TO FIND A DISTRIBUTER WHO WOULD SELL TO THEM. ALL 3
       WALGREENS DISTRIBUTOR FACILITIES FAILED TO IMPLEMENT
       SOM PROCEDURES.
See Exhibit B.21 hereto attached.


7.22        OPINION – THE “VENTURE” EXPANDED THE MARKET BY
       PROMOTING INAPPROPRIATE USE (LOW BACK SPASM) OF 3 YEARS
       DURATION WITH “SOME PAIN”.
See Exhibit B.22 hereto attached.


7.23         OPINION – THE “VENTURE” INTRODUCED THE CONCEPT OF
       THE “5TH VITAL SIGN” IN 1995, BUT LATER ALLOWED AMERICAN
       PAIN SOCIETY TO PROMOTE IT AS ITS OWN CREATION TO
       ENHANCE THE SALES OF OPIOIDS.
See Exhibit B.23 hereto attached.


7.24        OPINION – ABBOTT AND PURDUE TARGETED INAPPROPRIATE
       PHYSICIANS FOR USE OF OPIOIDS FOR CHRONIC PAIN.
See Exhibit B.24 hereto attached.


7.25         OPINION – AMERICAN PAIN FOUNDATION (“APF”) FRONTED
       FOR INDUSTRY TO INCREASE SALES.
See Exhibit B.25 hereto attached.


7.26        OPINION – “VENTURE” MEMBER ENDO FUNDED SEVERAL
       FRONT ORGANIZATIONS AND FUNDED NIH PUBLICATIONS AND
       VARIOUS “EDUCATIONAL” EVENTS.
See Exhibit B.26 hereto attached.




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                    Exhibit B.26, David S. Egilman Report Opiate Litigation




     OPINION – “VENTURE” MEMBER ENDO FUNDED SEVERAL FRONT
     ORGANIZATIONS AND FUNDED NIH PUBLICATIONS AND VARIOUS
     “EDUCATIONAL” EVENTS.




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